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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2022

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO. 23-MJ-29
JASON FARRIS, : VIOLATIONS:
: 18 U.S.C. § 231(a)(3)
Defendant. : (Civil Disorder)

18 U.S.C. § 111(a)(1)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly or disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

INDICTMENT
The Grand Jury charges that:
COUNT ONE
On or about January 6, 2021, within the District of Columbia, JASON FARRIS, committed
and attempted to commit an act to obstruct, impede, and interfere with a law enforcement officer,
lawfully engaged in the lawful performance of his/her official duties incident to and during the
commission of a civil disorder which in any way and degree obstructed, delayed, and adversely

affected commerce and the movement of any article and commodity in commerce and the conduct

and performance of any federally protected function.
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(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO
On or about January 6, 2021, within the District of Columbia, JASON FARRIS, did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee of
the United States, and of any branch of the United States Government (including any member of
the uniformed services), that is, J.W., an officer from the United States Capitol Police, while such
person was engaged in and on account of the performance of official duties, and where the acts in
violation of this section involve physical contact with the victim and the intent to commit another

felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT THREE
On or about January 6, 2021, in the District of Columbia, JASON FARRIS, did knowingly
enter and remain in a restricted building and grounds, that is, any posted, cordoned-off, and
otherwise restricted area within the United States Capitol and its grounds, where the Vice President
was and would be temporarily visiting, without lawful authority to do so.
(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))
COUNT FOUR
On or about January 6, 2021, in the District of Columbia, JASON FARRIS, did knowingly,
and with intent to impede and disrupt the orderly conduct of Government business and official

functions, engage in disorderly and disruptive conduct in and within such proximity to, a restricted
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building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President was and would be temporarily
visiting, when and so that such conduct did in fact impede and disrupt the orderly conduct of
Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation

of Title 18, United States Code, Section 1752(a)(2))

COUNT FIVE

On or about January 6, 2021, in the District of Columbia, JASON FARRIS, did knowingly
engage in any act of physical violence against any person and property in a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President was and would be temporarily visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

A TRUE BILL:

FOREPERSON.

Peters) bldg

Attorney of the United States in
and for the District of Columbia.
